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EXHIBIT A
                                                                       Case 1:25-cv-10498-RGS                                             Document 1-3                           Filed 03/03/25                     Page 2 of 4
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                                               0805, may be submitted to FDA using                                         • ‘‘Assessing User Fees Under the                                             download), we are planning to issue a
                                               Forms FDA 3913 and FDA 3914,                                              Biosimilar User Fee Amendments of                                               draft guidance for industry entitled
                                               respectively.                                                             2022’’ (July 2023), available at https://                                       ‘‘Pediatric Study Plans for Biosimilar
                                                 Patent infringement notifications are                                   www.fda.gov/regulatory-information/                                             Products,’’ to help implement
                                               also included in the scope of collection                                  search-fda-guidance-documents/                                                  provisions of the Pediatric Research
                                               activity. Section 351(l) of the PHS Act                                   assessing-user-fees-under-biosimilar-                                           Equity Act, codified in section 505B of
                                               provides for the exchange of patent                                       user-fee-amendments-2022. The                                                   the FD&C Act (21 U.S.C. 355c). For more
                                               information and resolution of patent                                      guidance document instructs                                                     information regarding FDA guidance
                                               disputes between a 351(k) biosimilar                                      respondents on requesting                                                       documents, including ways to
                                               applicant and the holder of the 351(a)                                    discontinuation from the BPD program,                                           participate, please visit https://
                                               BLA reference product. If a biosimilar                                    as well as requesting to move products                                          www.fda.gov/drugs/guidance-
                                               applicant is served with a complaint in                                   to the discontinued section of the                                              compliance-regulatory-information/
                                               an action for a patent infringement                                       biosimilar list. The guidance document                                          guidances-drugs.
                                               described in section 351(l)(6) of the PHS                                 also provides information on the
                                               Act, the biosimilar applicant is required                                 consequences of failing to pay BsUFA III                                           Description of Respondents: Sponsors
                                               to provide the Secretary of HHS with                                      fees as well as processes for submitting                                        and applicants who have or intend to
                                               notice and a copy of the complaint                                        reconsideration and appeal requests.                                            submit an application for a biosimilar
                                               within 30 days of service. FDA is                                           • ‘‘Formal Meetings Between the FDA                                           product for licensure under section
                                               required to publish notice of a                                           and Sponsors or Applicants of BsUFA                                             351(k) of the PHS Act or who intend to
                                               complaint received under section                                          Products’’ (August 2023), available at:                                         submit an initial pediatric study plan
                                               351(l)(6)(C) of the PHS Act in the                                        https://www.fda.gov/regulatory-                                                 (iPSP) as described in section 505B(e) of
                                               Federal Register.                                                         information/search-fda-guidance-                                                the FD&C Act for those products
                                                 Relevant information regarding                                          documents/formal-meetings-between-                                              intended to be licensed under section
                                               applicable statutory requirements is                                      fda-and-sponsors-or-applicants-bsufa-                                           351(k) of the PHS Act and being
                                               discussed in topical guidance                                             products-guidance-industry. The                                                 developed as a proposed biosimilar to a
                                               documents, issued consistent with our                                     guidance document explains                                                      reference product.
                                               BsUFA Commitment Letter and Agency                                        standardized procedures for requesting,                                            In the Federal Register of September
                                               Good Guidance Practice regulations in                                     preparing, scheduling, conducting, and
                                               21 CFR 10.115, which provide for                                                                                                                          23, 2024 (89 FR 77531), we published a
                                                                                                                         documenting formal meetings with
                                               public comment at any time. The                                                                                                                           60-day notice requesting public
                                                                                                                         FDA, and discusses good meeting
                                               following draft and final guidance                                                                                                                        comment on the proposed collection of
                                                                                                                         management practices.
                                               documents include instructional and                                         • As listed on our Center for Drug                                            information. No comments were
                                               procedural information on                                                 Evaluation and Research 2023 and 2024                                           received.
                                               communicating with FDA regarding the                                      Annual Guidance agenda (available at:                                              We estimate the burden of this
                                               BsUFA program:                                                            https://www.fda.gov/media/134778/                                               information collection as follows:

                                                                                                              TABLE 1—ESTIMATED ANNUAL REPORTING BURDEN
                                                                                                                                                                                Number of                                      Average
                                                                                                                                                        Number of                                         Total annual
                                                                                  FDA form; survey                                                                            responses per                                  burden per             Total hours
                                                                                                                                                       respondents                                         responses
                                                                                                                                                                                respondent                                    response

                                               Biosimilar User Fee Cover Sheet (Form FDA 3792) ......................                                                 30                            2              60    0.5 (30 min-                        30
                                                                                                                                                                                                                           utes).
                                               Request for discontinuation from BPD program or to move prod-                                                             6                         1                 6   1 .....................              6
                                                 ucts to discontinued section of Biosimilar List.
                                               Biosimilar product & interchangeable product applications                                                              16                       1.94                31    610.90 ............            18,938
                                                 (351(k)); patent infringement notifications (351(l)).
                                               Formal meeting requests as recommended in FDA guidance .......                                                       135                        2.30               311    21.42 ..............             6,661
                                               Submission of Pediatric Assessment; iPSP template information,                                                        11                           1                11    38.18 ..............               420
                                                 including deferrals of pediatric assessments for proposed bio-
                                                 similar products; iPSP amendments as recommended in FDA
                                                 guidance.

                                                    Total ..........................................................................................   ....................   ........................            419    ........................       26,055



                                                 Our estimated burden for the                                              Dated: January 28, 2025.                                                      DEPARTMENT OF HOMELAND
                                               information collection reflects an                                        P. Ritu Nalubola,                                                               SECURITY
                                               overall increase of 13,069 hours and 105                                  Associate Commissioner for Policy.
                                               responses annually. Although part of                                                                                                                      U.S. Citizenship and Immigration
                                                                                                                         [FR Doc. 2025–02153 Filed 1–30–25; 11:15 am]
                                               the increase may be attributed to the                                                                                                                     Services
                                                                                                                         BILLING CODE 4164–01–P
                                               inclusion of burden associated with the
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                                                                                                                                                                                                         [CIS No. 2803–25]
                                               submission of pediatric study plans, the
                                               majority of adjustments correspond with                                                                                                                   Vacatur of 2025 Temporary Protected
                                               an increase in submissions we are                                                                                                                         Status Decision for Venezuela
                                               receiving.                                                                                                                                                AGENCY: U.S. Citizenship and
                                                                                                                                                                                                         Immigration Services (USCIS),
                                                                                                                                                                                                         Department of Homeland Security
                                                                                                                                                                                                         (DHS).


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                                               ACTION: Notice of Temporary Protected                    [Secretary] with respect to the                         The Venezuela 2023 TPS designation
                                               Status (TPS) vacatur.                                    designation, or termination or extension             expires on April 2, 2025, and the
                                                                                                        of a designation, of a foreign state’’ for           Secretary must make a decision by
                                               SUMMARY: Through this notice, the                                                                             February 1, 2025. The Venezuela 2021
                                                                                                        TPS. INA 244(b)(5)(A), 8 U.S.C.
                                               Department of Homeland Security                          1254a(b)(5)(A). The Secretary, in the                TPS designation expires on September
                                               (DHS) announces that the Secretary of                    Secretary’s discretion, may then grant               10, 2025, and the Secretary must make
                                               Homeland Security (Secretary) has                        TPS to eligible nationals of that foreign            a decision by July 12, 2025.
                                               decided to vacate the January 10, 2025,                  state (or individual aliens having no                Notwithstanding the fact that these are
                                               decision of former Secretary of                          nationality who last habitually resided              both decisions that would lie with new
                                               Homeland Security Alejandro Mayorkas                     in the designated foreign state). See INA            Secretary of Homeland Security Kristi
                                               regarding TPS for Venezuela. Former                      244(a)(1)(A), 8 U.S.C. 1254a(a)(1)(A).               Noem, Secretary Mayorkas took action
                                               Secretary Mayorkas extended the 2023                                                                          with respect to both designations.
                                               designation of Venezuela for TPS for 18                    At least 60 days before the expiration
                                                                                                        of a foreign state’s TPS designation or                 On January 17, 2025, Secretary
                                               months, allowed a consolidation of                                                                            Mayorkas issued a notice extending the
                                               filing processes such that all eligible                  extension, the Secretary, after
                                                                                                        consultation with appropriate U.S.                   2023 designation of Venezuela for TPS
                                               Venezuela TPS beneficiaries (whether                                                                          for 18 months (Mayorkas Notice). The
                                               under the 2021 or 2023 designations)                     Government agencies, must review the
                                                                                                        conditions in the foreign state                      notice was based on Secretary
                                               may obtain TPS through the same                                                                               Mayorkas’ January 10, 2025,
                                               extension date of October 2, 2026, and                   designated for TPS to determine
                                                                                                        whether they continue to meet the                    determination that the conditions for
                                               extended certain Employment                                                                                   the designation continued to be met. See
                                               Authorization Documents (EADs). All of                   conditions for the TPS designation. See
                                                                                                        INA 244(b)(3)(A), 8 U.S.C.                           INA 244(b)(3)(A), 8 U.S.C.
                                               this also had the effect of extending the                                                                     1254a(b)(3)(A). In the Mayorkas Notice,
                                               2021 designation. This notice vacates                    1254a(b)(3)(A). If the Secretary
                                                                                                        determines that the conditions in the                Secretary Mayorkas did not expressly
                                               Mayorkas’ notice immediately.                                                                                 extend or terminate the 2021
                                               DATES: The vacatur is effective
                                                                                                        foreign state continue to meet the
                                                                                                        conditions for TPS designation, the                  designation. Instead, the notice allowed
                                               immediately.                                                                                                  for a consolidation of filing processes
                                                                                                        designation will be extended for an
                                               FOR FURTHER INFORMATION CONTACT:                         additional period of 6 months or, in the             such that all eligible Venezuela TPS
                                               Samantha Deshommes, Chief,                               Secretary’s discretion, 12 or 18 months.             beneficiaries (whether under the 2021 or
                                               Regulatory Coordination Division,                                                                             2023 designations) could obtain TPS
                                                                                                        See INA 244(b)(3)(A), (C), 8 U.S.C.
                                               Office of Policy and Strategy, U.S.                                                                           through the same extension date of
                                                                                                        1254a(b)(3)(A), (C). If the Secretary
                                               Citizenship and Immigration Services,                                                                         October 2, 2026. See Extension of the
                                                                                                        determines that the foreign state no
                                               Department of Homeland Security, 800–                                                                         2023 Designation of Venezuela for
                                                                                                        longer meets the conditions for TPS
                                               375–5283.                                                                                                     Temporary Protected Status, 90 FR 5961
                                                                                                        designation, the Secretary must
                                               SUPPLEMENTARY INFORMATION:                                                                                    (Jan. 17, 2025). The notice also extended
                                                                                                        terminate the designation. See INA
                                                                                                                                                             certain EADs. The effect of Secretary
                                               I. Temporary Protected Status (TPS)                      244(b)(3)(B), 8 U.S.C. 1254a(b)(3)(B).
                                                                                                                                                             Mayorkas’ actions, however, resulted in
                                               Generally                                                II. Background                                       an extension of the 2021 Venezuela TPS
                                                  The Immigration and Nationality Act                                                                        designation.
                                                                                                           On March 9, 2021, Secretary
                                               (INA) authorizes the Secretary, after                    Mayorkas designated Venezuela for TPS                III. Vacatur of the 2025 Decision
                                               consultation with appropriate U.S.                       on the basis of extraordinary and
                                               Government agencies, to designate a                                                                              The Secretary of Homeland Security
                                                                                                        temporary conditions in Venezuela that               is vacating the January 10, 2025
                                               foreign state (or part thereof) for TPS if               prevented nationals of Venezuela from
                                               the Secretary determines that certain                                                                         decision of Secretary Mayorkas which
                                                                                                        returning in safety (2021 designation).              (1) extended the 2023 Venezuela TPS
                                               country conditions exist. INA 244(b)(1),                 See Designation of Venezuela for
                                               8 U.S.C. 1254a(b)(1).1 The                                                                                    designation and (2) allowed the
                                                                                                        Temporary Protected Status and                       consolidation of filing processes for
                                               determination whether to designate any                   Implementation of Employment
                                               foreign state (or part thereof) for TPS is                                                                    both designations, which had the effect
                                                                                                        Authorization for Venezuelans Covered                of extending the 2021 Venezuela TPS
                                               discretionary, and there is no judicial                  by Deferred Enforced Departure, 86 FR
                                               review of ‘‘any determination of the                                                                          designation, and (3) extended certain
                                                                                                        13574 (Mar. 9, 2021).                                EADs. An agency has inherent (that is,
                                                 1 Although section 244(b)(1) of the INA continues         On September 8, 2022, DHS extended                statutorily implicit) authority to revisit
                                               to refer to the Attorney General, this authority now     the Venezuela 2021 TPS designation for               its prior decisions unless Congress has
                                               resides with the Secretary of Homeland Security by       18 months. See Extension of the                      expressly limited that authority. The
                                               operation of the Homeland Security Act of 2002,          Designation of Venezuela for Temporary               TPS statute does not limit the
                                               Public Law 107–296, 116 Stat. 2135, as amended.
                                               See, e.g., 6 U.S.C. 557; 8 U.S.C. 1103(a)(1). The
                                                                                                        Protected Status, 87 FR 55024 (Sept. 8,              Secretary’s inherent authority under the
                                               Secretary may designate a country (or part of a          2022). On October 3, 2023, DHS                       INA to reconsider any TPS-related
                                               country) for TPS on the basis of (1) an ongoing          extended the Venezuela 2021 TPS                      determination, and upon
                                               armed conflict such that returning would pose a          designation for another 18 months with               reconsideration, to vacate or amend the
                                               serious threat to the personal safety of the country’s
                                               nationals, (2) an environmental disaster (including
                                                                                                        an expiration date of September 10,                  determination.2
                                               an epidemic), or (3) extraordinary and temporary         2025, and separately newly designated
                                               conditions in the country that prevent the safe          Venezuela, which then Secretary                         2 See INA 103(a), 244(b)(3), (b)(5)(A); 8 U.S.C.
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                                               return of the country’s nationals. For environmental     Mayorkas called a ‘‘redesignation,’’ for             1103(a), 1254a(b)(3), (b)(5)(A); Reconsideration and
                                               disaster-based designations, certain other statutory                                                          Rescission of Termination of the Designation of El
                                               requirements must be met, including that the
                                                                                                        18 months (the Venezuela 2023                        Salvador for Temporary Protected Status; Extension
                                               foreign government must officially request a TPS         designation) with an expiration of April             of the Temporary Protected Status Designation for
                                               designation. A designation based on extraordinary        2, 2025, resulting in two separate and               El Salvador, 88 FR 40282, 40285 (June 21, 2023)
                                               and temporary conditions cannot be made if the           concurrent Venezuela TPS designations.               (‘‘An agency has inherent (that is, statutorily
                                               Secretary finds that allowing the country’s nationals                                                         implicit) authority to revisit its prior decisions
                                               to remain temporarily in the United States is
                                                                                                        See Extension and Redesignation of                   unless Congress has expressly limited that
                                               contrary to the U.S. national interest. INA sec.         Venezuela for Temporary Protected                    authority. The TPS statute does not limit the
                                               244(b)(1), 8 U.S.C. 1254a(b)(1).                         Status, 88 FR 68130 (Oct. 3, 2023).                  Secretary’s inherent authority to reconsider any



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                                               A. Reason for the Vacatur                                 attempts to address these overlapping                  additional period of 6 months. INA
                                                  The Mayorkas Notice adopted a novel                    populations, the explanations in the                   244(b)(3)(C), 8 U.S.C. 1254a(b)(3)(C).
                                               approach of implicitly negating the 2021                  Mayorkas Notice, particularly the                         Pursuant to this vacatur, USCIS will
                                               Venezuela TPS designation by                              explanation for operational impacts, are
                                                                                                                                                                no longer accept Venezuela TPS re-
                                               effectively subsuming it within the 2023                  thin and inadequately developed. Given
                                                                                                                                                                registration applications (Form I–821)
                                               Venezuela TPS designation. As                             these deficiencies and lack of clarity,
                                                                                                                                                                and associated Applications for
                                               described above, Secretary Mayorkas                       vacatur is warranted to untangle the
                                                                                                         confusion, and provide an opportunity                  Employment Authorization (Form I–
                                               explicitly made a determination to                                                                               765) filed under the Mayorkas Notice.
                                               extend the 2023 designation. While he                     for informed determinations regarding
                                                                                                         the TPS designations and clear                         For TPS beneficiaries who have already
                                               did not make an explicit determination                                                                           filed applications to re-register for TPS
                                               to extend the 2021 designation, he did                    guidance.3
                                                                                                           Given the exceedingly brief period in                pursuant to the Mayorkas Notice and
                                               allow consolidated filing processes for
                                                                                                         which the January 17, 2025 extension                   paid any fees associated with their
                                               both the 2021 and 2023 designations,
                                               which in effect extended the 2021                         notice has been in effect and the fact                 applications, USCIS will cease
                                               designation by up to 13 months.                           that the effect of this vacatur will restore           processing their applications, and issue
                                               Furthermore, he allowed extensions for                    the status quo preceding that notice, any              refunds of any fees paid by those
                                               certain EADs.                                             putative reliance interests on the                     aliens.5 Additionally, USCIS will
                                                  The Mayorkas Notice states that                        extension notice are negligible.                       invalidate EADs; Forms I–797, Notice of
                                               Existing TPS beneficiaries, including                     Venezuela 2023 registrants will retain                 Action (Approval Notice); and Forms I–
                                               those registered under the October 3,                     their temporary protected status under                 94, Arrival/Departure Record
                                               2023 TPS designation or the prior                         the pre-existing designation at least                  (collectively known as TPS-related
                                               March 9, 2021 TPS designation, who                        until April 2, 2025. With respect to any               documentation) that have been issued
                                               wish to extend their status through                       Venezuela 2021 registrants who elected,                with October 2, 2026 expiration dates
                                               October 2, 2026, must re-register during                  pursuant to the Mayorkas Notice, to                    under the Mayorkas Notice. USCIS will
                                               the re-registration period described in                   register under the Venezuela 2023                      provide refunds to any fees paid by
                                               the January 2025 decision. This, and                      designation, USCIS will restore their                  these aliens as well.
                                               other language in the Mayorkas Notice,                    Venezuela 2021 registration. And, in
                                               indicate that the practical effect of                     any event, any putative reliance                         Additionally, pursuant to this vacatur
                                               Secretary Mayorkas’ decision was to                       interests arguably engendered by the                   the automatic EAD extensions provided
                                               combine both designations and to                          Mayorkas Notice are outweighed by the                  in the Mayorkas Notice are hereby
                                               provide an extension until October 2,                     overriding interests and concerns                      rescinded. USCIS will provide
                                               2026, for the population of both                          articulated in this notice.                            additional guidance regarding the two
                                               designations.                                                                                                    Venezuela TPS designations on a future
                                                                                                         B. Effect of the Vacatur                               date in accordance with applicable
                                                  The Mayorkas Notice did not
                                               acknowledge the novelty of its approach                      As a result of the vacatur, the 2021                laws.
                                               or explain how it is consistent with the                  Venezuela TPS designation and the
                                                                                                         2023 Venezuela designation remain in                   IV. Notice of Vacatur of Secretary
                                               TPS statute. See INA 244(b)(2)(B), 8
                                               U.S.C. 1254a(b)(2)(B) (providing that a                   effect and their associated statutory                  Mayorkas’ 2025 Decision
                                               TPS country designation ‘‘shall remain                    deadlines remain in effect. The statutory
                                                                                                                                                                  By the authority vested in me as
                                               in effect until the effective date of the                 deadline 4 for each of those designations
                                                                                                                                                                Secretary under section 244 of the
                                               termination of the designation under                      is as follows: The Secretary (1) must
                                                                                                                                                                Immigration and Nationality Act, 8
                                               [INA 244(b)(3)(B), 8 U.S.C.                               determine, by February 1, 2025, whether
                                                                                                         to extend or terminate the 2023                        U.S.C. 1254a, I am vacating the
                                               1254a(b)(3)(B)]’’). This novel approach
                                               has included multiple notices,                            Venezuela TPS designation and (2) must                 decisions announced in the January 17,
                                               overlapping populations, overlapping                      determine, by July 12, 2025, whether to                2025 notice titled Extension of the 2023
                                               dates, and sometimes multiple actions                     extend or terminate the 2021 Venezuela                 Designation of Venezuela for TPS. In
                                               happening in a single document. While                     TPS designation.                                       doing so, I am vacating the (1) extension
                                               the Mayorkas Notice may have made                            If the Secretary does not make a                    of the Venezuela 2023 TPS designation,
                                                                                                         timely determination (for example, if                  (2) the consolidation of filing processes
                                               TPS-related determination, and upon                       the Secretary were not to make                         for both designations, which, in effect,
                                               reconsideration, to change the determination.’’); see     determination by February 1, 2025                      resulted in the extension of the 2021
                                               also, e.g., Ivy Sports Medicine, LLC v. Burwell, 767
                                               F.3d 81, 86 (D.C. Cir. 2014) (Kavanaugh, J.)              whether to extend or terminate the 2023                TPS designation, and (3) the EADs that
                                               (‘‘[A]dministrative agencies are assumed to possess       Venezuela TPS designation), then the                   were extended. As a result, the
                                               at least some inherent authority to revisit their prior   statute provides for an automatic                      Venezuela 2023 TPS designation and
                                               decisions, at least if done in a timely fashion. . . .    extension of the designation for an                    the Venezuela 2021 TPS designation
                                               ‘‘[I]nherent authority for timely administrative
                                               reconsideration is premised on the notion that the                                                               remain in effect and their associated
                                                                                                            3 See Exec. Order, Protecting the American People
                                               power to reconsider is inherent in the power to                                                                  statutory deadlines remain in effect.
                                               decide.’’ (quotation marks and citations omitted));       Against Invasion, sec. 16(b) (Jan. 20, 2025),
                                               Macktal v. Chao, 286 F.3d 822, 825–26 (5th Cir.           available at https://www.whitehouse.gov/               Kristi Noem,
                                               2002) (‘‘It is generally accepted that in the absence     presidential-actions/2025/01/protecting-the-
                                                                                                         american-people-against-invasion/.                     Secretary, U.S. Department of Homeland
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                                               of a specific statutory limitation, an administrative
                                               agency has the inherent authority to reconsider its          4 If there is an existing TPS designation for a     Security.
                                               decisions.’’) (collecting cases); Mazaleski v.            foreign state, the Secretary must review country       [FR Doc. 2025–02183 Filed 1–30–25; 11:15 am]
                                               Treusdell, 562 F.2d 701, 720 (D.C. Cir. 1977) (‘‘We       conditions in consultation with appropriate U.S.
                                                                                                                                                                BILLING CODE 9111–97–P
                                               have many times held that an agency has the               Government agencies and make a determination—
                                               inherent power to reconsider and change a decision        at least 60 days before the designation is set to
                                                                                                                                                                  5 As noted above, any Venezuela 2021 registrants
                                               if it does so within a reasonable period of time.’’);     expire—whether to extend or terminate that
                                               cf. Last Best Beef, LLC v. Dudas, 506 F.3d 333, 340       country’s TPS designation (i.e., whether the           who elected, pursuant to the Mayorkas Notice, to
                                               (4th Cir. 2007) (agencies possess especially ‘‘broad      conditions for the designation continue to be met).    register under the Venezuela 2023 designation will
                                               authority to correct their prior errors’’).               INA 244(b)(3), 8 U.S.C. 1254a(b)(3).                   have their Venezuela 2021 registration restored.



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